                            UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF WISCONSIN
                                           OFFICE OF THE CLERK

                                             362 U.S. COURTHOUSE
                                             517 E. WISCONSIN AVE
                                             MILWAUKEE, WI 53202

STEPHEN C. DRIES                                                                              TEL: 414-297-3372
     CLERK                                                                                    FAX: 414-297-3253
                                                                                             www.wied.uscourts.gov


                                             October 22, 2019


   Arron Cornelius Bowens
   2017031347
   Milwaukee County Jail
   949 North 9th Street
   Milwaukee, WI 53233

          Re:      Bowens v. Milwaukee County Jail, et al.
                   Case No. 19-CV-1540

   Dear Mr. Bowens:

   The Clerk’s Office received your civil rights complaint for filing on October 21, 2019.

   This case has been assigned to U.S. District Judge J. P. Stadtmueller and U.S. Magistrate Judge
   William E. Duffin. Enclosed is a magistrate judge jurisdiction form for your review. Please complete
   and file it with the Clerk’s Office within 21 days of the date of this letter.

  The court also received your Request to Proceed in District Court Without Prepaying the Full Filing
  Fee. In accordance with provisions of the Prison Litigation Reform Act, you are required to submit a
  certified copy of your institutional trust account statement for the past six months. The statement should
  show all transactions, including deposits, withdrawals, and balances. If you’ve been incarcerated in
  more than one institution during the past six months, please provide statements from all institutions.
  If you have not been incarcerated for a period of six months, please inform the Court in writing. You
  must submit your certified institutional trust account statement within 21 days of the date of this
  letter.

   Failure to comply with this requirement may result in the Court’s dismissal of your case.


                                                            Very truly yours,

                                                            STEPHEN C. DRIES
                                                            Clerk of Court


                                                            s/Amanda Chasteen
                                                            Deputy Clerk

   Enclosure



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